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Form B18 (Official Form 18)(10/05)

                                     United States Bankruptcy Court
                                            District of New Hampshire
                                                 1000 Elm Street
                                                     Suite 1001
                                           Manchester, NH 03101−1708
                                               Case No. 06−10899−MWV
                                                      Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Kevin A. Avard                                            Naomi K. Avard
    dba Aardvark Dean of Clean                                aka Naomi K. Croteau
    100 Beech Street                                          100 Beech Street
    Franklin, NH 03235                                        Franklin, NH 03235
Social Security No.:
   xxx−xx−0870                                              xxx−xx−0290
Employer's Tax I.D. No.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 4/5/07                                               /s/ Mark W. Vaughn
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (applies to cases filed on or after 10/17/2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts.

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (applies to cases filed on or after
      10/17/2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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Bankruptcy Noticing Center
2525 Network Place, 3rd Floor
                                CERTIFICATE OF SERVICE
Herndon, Virginia 20171-3514

District/off: 0102-1             User: admin                Page 1 of 2                    Date Rcvd: Apr 05, 2007
Case: 06-10899                   Form ID: B18               Total Served: 39

The following entities were served by first class mail on Apr 07, 2007.
db          +Kevin A. Avard,    100 Beech Street,     Franklin, NH 03235-1866
jdb         +Naomi K. Avard,    100 Beech Street,     Franklin, NH 03235-1866
1696933     +Allied Interstate,     3000 Corporate Exchange Drive,     Suite 600,    Columbus, OH 43231-7684
1696938      Citi Cards,    PO Box 660370,    Dallas, TX 75266-0370
1696935      Citi Cards,    PO Bxo 183065,    Columbus, OH 43218-3065
1696937     +Citi Cards,    PO Box 6921,    The Lakes, NV 88901-6921
1696936     +Citi Cards,    PO Box 183052,    Columbus, OH 43218-3052
1696939     +Citicards,    PO Box 9151,    Des Moines, IA 50368-0001
1696940     +DE Money Bank,    PO Box 530927,     Atlanta, GA 30353-0927
1696943      ExxonMobil,    PO Box 530962,    Atlanta, GA 30353-0962
1696944     +GE Money Bank,    PO Bxo 530962,     Atlanta, GA 30353-0962
1696945     +Gragill Associates,     PO Box 1010,    Pembroke, MA 02359-1010
1696946     +Home Depot Credit Services,     Processing Center,     Des Moines, IA 50364-0001
1696947     +I.C. System, Inc.,     444 Highway 96 East,    PO Box 64794,    Saint Paul, MN 55164-0794
1696948     +Karolee A. Avard,     13 Bye Street,    Penacook, NH 03303-1403
1696950     +LRG Healthcare,    Attn. Mendical Billing Office,      PO Box 1327,    Laconia, NH 03247-1327
1696949     +Lakes Regional General Hospital,      80 Highland Avenue,    Laconia, NH 03246-3298
1703193     +Merrimack County Human Services,      10 Ferry STreet, Ste 200,     Concord NH 03301-5081
1696952     +NovaStar,    PO Box 808911,    Kansas City, MO 64184-0001
1697569     +Recovery Management Systems Corporation,      For GE Money Bank,     dba EXXONMOBIL,
               25 SE 2nd Ave Ste 1120,     Miami FL 33131-1605
1703414     +Recovery Management Systems Corporation,      For GE Money Bank,     dba American Eagle,
               25 SE 2nd Ave Ste 1120,     Miami FL 33131-1605
1706693     +Recovery Management Systems Corporation,      For GE Money Bank,     dba Wal-Mart,
               25 SE 2nd Ave Ste 1120,     Miami FL 33131-1605
1696953     +Robert V. McKenney, Esq.,     109 Ponemah Road,    #3,    Amherst, NH 03031-2834
1696955      Sears Roebuck & Company,     PO Box 2182156,    Columbus, OH 43218-2156
1696954      Sears Roebuck & Company,     PO Box 20363,    Kansas City, MO 64195-0363
1696956     +Shell,    Processing Center,    Des Moines, IA 50359-0001
1706792      Sovereign Bank,    c/o Robert V. McKenney, Esq.,     109 Ponemah Road,     #3,
               Amherst, NH 03031-2834
1696957     +Sovereign Bank,    PO Box 4020,    Rocky Hill, CT 06067-4020
1697447     +State of New Hampshire,     Dept. of Employment Security,     Attn: Arnold Rocklin-Weare,
               32 South Main Street,     Concord, NH 03301-4857
1696958     +Steele Hill East,     516 Steele Hill Road,    Sanbornton, NH 03269-2605
1696959      Sunoco,    Processing Center,    PO Box 689153,    Des Moines, IA 50368-9153
1696960     +Verizon,    PO Box 1,    Worcester, MA 01654-0001
1697446      Wage and Hour Administrator,     NH Department of Labor,     PO Box 2076,    Concord, NH 03302-2076
The following entities were served by electronic transmission on Apr 05, 2007.
1696934      EDI: TSYS.COM Apr 05 2007 16:04:00     American Eagle Outfitters,     PO Box 530993,
               Atlanta, GA 30353-0993
1696939     +EDI: CITICORP.COM Apr 05 2007 16:04:00     Citicards,    PO Box 9151,    Des Moines, IA 50368-0001
1696941     +EDI: DISCOVER.COM Apr 05 2007 16:04:00     Discover Card,    PO Box 15251,
               Wilmington, DE 19886-5251
1696942     +EDI: DISCOVER.COM Apr 05 2007 16:04:00     Discover Card,    PO Box 3008,
               New Albany, OH 43054-3008
1698436      EDI: DISCOVER.COM Apr 05 2007 16:04:00     Discover Financial Services,     POB 3025,
               New Albany, OH 43054-3025
1696951     +EDI: TSYS2.COM Apr 05 2007 16:04:00     Macy’s,    PO Box 4563,    Carol Stream, IL 60197-4563
1697569     +EDI: RECOVERYCORP.COM Apr 05 2007 16:04:00      Recovery Management Systems Corporation,
               For GE Money Bank,   dba EXXONMOBIL,   25 SE 2nd Ave Ste 1120,     Miami FL 33131-1605
1703414     +EDI: RECOVERYCORP.COM Apr 05 2007 16:04:00      Recovery Management Systems Corporation,
               For GE Money Bank,   dba American Eagle,   25 SE 2nd Ave Ste 1120,     Miami FL 33131-1605
1706693     +EDI: RECOVERYCORP.COM Apr 05 2007 16:04:00      Recovery Management Systems Corporation,
               For GE Money Bank,   dba Wal-Mart,   25 SE 2nd Ave Ste 1120,     Miami FL 33131-1605
1696954      EDI: SEARS.COM Apr 05 2007 16:04:00     Sears Roebuck & Company,     PO Box 20363,
               Kansas City, MO 64195-0363
1696956     +EDI: CITICORP.COM Apr 05 2007 16:04:00     Shell,    Processing Center,    Des Moines, IA 50359-0001
1696961      EDI: TSYS.COM Apr 05 2007 16:04:00     Wal-mart,    PO Box 530927,    Atlanta, GA 30353-0927
                                                                                              TOTAL: 12
              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                           TOTAL: 0
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
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              ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 07, 2007                                      Signature:
